 Case 2:17-cv-00118-DBH Document 11 Filed 06/15/17 Page 1 of 2                     PageID #: 88



                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF MAINE

WILFRED DESORMEAU,                              )
                                                )
                   PLAINTIFF,                   )
                                                )
         v.                                     )      Civil Action Docket No. 2:17-cv-00118-DBH
                                                )
CVS STATE CAPITAL, LLC,                         )
CVS Rx SERVICES, INC.,                          )
CAREMARK PHC, LLC, and                          )
CVS HEALTH CORPORATION,                         )
                                                )
                   DEFENDANTS.
                                                )


                         STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff, Wilfred Desormeau and Defendants, CVS State Capital, LLC (whose correct

name is CVS State Capital, L.L.C.), CVS Rx Services, Inc., Caremark PhC, LLC (whose correct

name is Caremark PhC, L.L.C.), and CVS Health Corporation, by and through their undersigned

counsel, hereby stipulate, in accordance with Fed.R.Civ.P. 41(a)(1)(A)(ii), that this matter be

dismissed with prejudice, without costs, and waiving all rights of appeal.

Dated this 15th day of June, 2017



/s/ Rebecca S. Webber                               /s/Matthew Tarasevich
Rebecca S. Webber                                   Matthew Tarasevich
Amy P. Dieterich                                    Peter F. Herzog
SKELTON, TAINTOR & ABBOTT                           BERNSTEIN SHUR
95 Main Street                                      100 Middle Street, P.O. Box 9729
Auburn, Maine 04210                                 Portland, Maine 04104
Telephone: 207.784.3200                             Telephone: 207.774.1200
Email: rwebber@sta-law.com                          Facsimile: 207.775.6407
Email: adieterich@sta-law.com                       Email: mtarasevich@bernsteinshur.com
                                                    Email: pherzog@bernsteinshur.com

Counsel for Plaintiff                               Counsel for Defendants




Firmwide:148052903.1 090142.1090
 Case 2:17-cv-00118-DBH Document 11 Filed 06/15/17 Page 2 of 2                    PageID #: 89



                                   CERTIFICATE OF SERVICE

         The undersigned certifies that on the 15th day of June, 2017 the foregoing document was

filed electronically with the Clerk of Court using the CM/ECF system; that the same will be sent

electronically to registered participants as identified in the CM/ECF electronic filing system for

this matter on the following counsel of record:

         Rebecca S. Webber
         Amy Dieterich
         Skelton, Taintor & Abbott
         95 Main Street
         Auburn, Maine 04210


                                                      /s/Matthew Tarasevich
                                                      Matthew Tarasevich
                                                      BERNSTEIN SHUR
                                                      100 Middle Street, P.O. Box 9729
                                                      Portland, Maine 04104




Firmwide:148052903.1 090142.1090                  2
